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                                                          Aug 16 2023

                                                           s/ GloriaVocal




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